                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                  3:15-cv-00544

 MATTHEW J. LACEY AND WIFE,
 MELISSA A. LACEY,

                                     Plaintiffs,

                vs.                                             STIPULATION
                                                                OF DISMISSAL
 SELECT PORTFOLIO SERVICING,
 INC., a Pennsylvania Corporation, EMC
 MORTGAGE, L.L.C., f/k/a EMC
 MORTGAGE CORPORATION, JP
 MORGAN CHASE BANK, N.A., and
 ROGERS TOWNSEND & THOMAS,
 P.C. (Substitute Trustee),

                                   Defendants.


        Pursuant to Fed. R. Civ. P. 41, Plaintiffs and Defendants, by and through their undersigned
counsel, hereby stipulate to the dismissal with prejudice of this action. Except and unless
otherwise specifically agreed in writing between them, each party shall bear its own costs in this
action.

       This, the 16th day of March, 2017.

 COLLUM & PERRY, PLLC                              NELSON MULLINS RILEY
                                                   & SCARBOROUGH LLP

 By:    s/Travis E. Collum                         By:   s/Thomas G. Hooper
        Travis E. Collum                                 Thomas G. Hooper
        N.C. State Bar No. 29158                         N.C. State Bar No. 25571
        109 W. Statesville Avenue                        100 North Tryon Street, Suite 4200
        Mooresville, NC 28115                            Charlotte, North Carolina 28202
        Telephone: (704 663-4187                         Telephone: (704) 417-3000
        Facsimile: (704) 663-4178                        Facsimile: (704) 377-4814
        E-Mail: travis@collumperry.com                   E-Mail: tom.hooper@nelsonmullins.com

        Attorneys for Plaintiffs                         Attorneys for Defendants JPMorgan
                                                         Chase Bank, N.A. and EMC Mortgage,
                                                         LLC




       Case 3:15-cv-00544-FDW-DSC Document 84 Filed 03/16/17 Page 1 of 3
WOMBLE CARLYLE SANDRIDGE                       WOMBLE CARLYLE SANDRIDGE
& RICE, LLP                                    & RICE, LLP

By: s/ James A. Dean                           By: s/ James A. Dean
    James A. Dean                                  James A. Dean
    N.C. State Bar No. 39623                       N.C. State Bar No. 39623
    One West Fourth Street                         One West Fourth Street
    Winston-Salem, NC 27101                        Winston-Salem, NC 27101
    Telephone: (336) 721-3600                      Telephone: (336) 721-3600
    Facsimile: (336) 721-3660                      Facsimile: (336) 721-3660
    E-Mail: jdean@wcsr.com                         E-Mail: jdean@wcsr.com

    Attorneys for Defendant Select Portfolio       AND
    Servicing, Inc.
                                                   Diana Coada
                                                   ROGERS TOWNSEND & THOMAS, P.C.
                                                   3800 Arco Corporate Drive, Suite 250
                                                   Charlotte, NC 28373
                                                   Telephone: (704) 442-9500
                                                   Facsimile: (704) 422-8595
                                                   E-Mail: diana.coada@rtt-law.com

                                                   Attorneys for Defendant Rogers Townsend
                                                   & Thomas, PC




    Case 3:15-cv-00544-FDW-DSC Document 84 Filed 03/16/17 Page 2 of 3
                                CERTIFICATE OF SERVICE

       I hereby certify that on the 16th day of March, 2017 , I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system, which will send notification of such filing to
the following: Diana Coada, Esq. (diana.coada@rtt-law.com); Travis E. Collum, Esq.
(travis@collumperry.com); James A. Dean, Esq. (jdean@wcsr.com); Michael Montecalvo, Esq.
(mmontecalvo@wcsr.com); and Stacy Williams (stacy@collumperry.com).

                                     NELSON MULLINS RILEY
                                     & SCARBOROUGH LLP

                                     By:     s/Thomas G. Hooper
                                             Thomas G. Hooper
                                             N.C. State Bar No. 25571

                                             100 North Tryon Street, Suite 4200
                                             Charlotte, North Carolina 28202
                                             Telephone: (704) 417-3000
                                             Facsimile: (704) 377-4814
                                             E-Mail: tom.hooper@nelsonmullins.com

                                             Attorneys for Defendants JPMorgan Chase Bank,
                                             N.A. and EMC Mortgage, LLC




      Case 3:15-cv-00544-FDW-DSC Document 84 Filed 03/16/17 Page 3 of 3
